                                                                                       11/22/2017

                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION


 UNITED STATES OF AMERICA
                                                    CASE NO. 3:16-cr-50008

 v.
                                                    PRESENTENCING ORDER

 DEBORAH RYBA,
                                                    JUDGE NORMAN K. MOON
                               Defendant.




       Defendant Deborah Ryba, (hereinafter “Defendant”) is scheduled for sentencing at 10:30

a.m. on December 11, 2017.

       At sentencing, the Court must place on the record an “individualized assessment based on

the particular facts of the case before it,” whether the Court “imposes an above, below, or within-

Guidelines sentence.” United States v. Carter, 564 F.3d 325, 330 (4th Cir. 2009) (internal

quotation marks omitted). “[E]very sentence requires an adequate explanation,” but “a more

complete and detailed explanation of a sentence is required when departing from the advisory

Sentencing Guidelines, and a major departure should be supported by a more significant

justification than a minor one.” United States v. Hernandez, 603 F.3d 267, 271 (4th Cir. 2010)

(internal quotation marks omitted).

       Accordingly, to ensure that full consideration be given to each and every non-frivolous

argument raised by the parties, and that the Court is fully responsive thereto on the record at

sentencing, if Defendant intends to make a sentencing recommendation to the Court below the

median of the advisory Sentencing Guideline range as calculated in the presentence report, or if




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the United States intends to make a sentencing recommendation to the Court above said median,

whether such a recommendation is in the form of a specific sentence or general range of

punishment, they are hereby ORDERED to file a sentencing memorandum which includes the

recommendation and grounds in support thereof, no fewer than seven (7) days1 before

sentencing.2

          Should a party choose to make a recommendation for a sentence outside the advisory

Sentencing Guideline range as calculated in the presentence report, the grounds in support

thereof must be stated with greater particularity, although in no event shall citation to precedent

be necessary. No written response to the opposing party’s sentencing memorandum shall be

required, unless specifically so directed by the Court.3

          It is so ORDERED. The Clerk of the Court is hereby directed to send a certified copy of

this Order to all counsel of record.
                        22nd day of November, 2017.
          Entered this _____




    1
        Should the sentencing hearing be reset for a later date, this seven-day deadline will apply as to that new date.
    2
      The United States shall not be required to file a separate sentencing memorandum pursuant to this Order if it
intends to file a motion for substantial assistance under 18 U.S.C. § 3553(e) and U.S.S.G. § 5K1.1.
    3
      This Order in no way shall supplant or otherwise interfere with the parties’ separate obligation under Rule
32(f) of the Federal Rules of Criminal Procedure, which states that “[w]ithin 14 days after receiving the presentence
report, the parties must state in writing any objections, including objections to material information, sentencing
guideline ranges, and policy statements contained in or omitted from the report.” Thereafter, only upon a showing of
good cause will the Court allow a party to make a new objection to the presentence report. See Fed. R. Crim. P.
32(i)(1)(D).

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